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[Dodmuf] [District Order Denying Motion for Unclaimed Funds]


                                       UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION
                                               www.flmb.uscourts.gov



In re:                                                                      Case No. 8:08−bk−00987−CPM
                                                                            Chapter 7
MAPSource, Inc.




________Debtor*________/



                              ORDER DENYING MOTION FOR UNCLAIMED FUNDS



    THIS CASE came on for consideration of the Motion for Unclaimed Funds (the "Motion") filed by Adams &
Cohen on behalf of Barry Epstein on June 9, 2014 (Doc No. 66 ). The Motion fails to fulfill the requirements of 28
U.S.C. Section 2042 and the financial guidelines for the U.S. Bankruptcy Court, Middle District of Florida as
follows:

       Proof of service upon the United States Attorney at Attn: Civil Process Clerk, 400 N. Tampa Street, Suite
3200, Tampa, FL 33602 was not provided.

         The last four digits of the claimant's Social Security Number or Tax Identification Number were not provided.

         A copy of the individual claimant's driver's license was not provided.

         Claimant's name, address and telephone number were not provided.

         No explanation of the right of the claimant to the unclaimed funds was provided.

         The Movant did not supply a notarized original Power of Attorney.

        The Corporate claimant failed to provide a corporate power of attorney signed by an officer of the company
and a statement of the signing officer's authority.

        The Movant did not supply a certified copy of the decedent's death certificate and/or certified copies of all
probate documents that substantiate the right to act on behalf of the decedent's estate.

       The Movant did not supply sufficient documentation evidencing the transfer of the claim or proof of
purchase/sale of the assets.
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            The amount of funds requested does not match the amount held in the court registry.

            There are no funds on deposit in the name of the movant.

            Other

       Accordingly, it is

        ORDERED:

        That the Motion for Payment of Unclaimed Funds filed by Adams & Cohen on behalf of Barry Epstein is denied.




Dated: June 26, 2014

                                     ____________________________________________
                                     Catherine Peek McEwen
                                     United States Bankruptcy Judge



    Clerk's Office to Serve



    *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two individuals.
